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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES - GENERAL

   Case No. 2:22−cv−00404−MCS−RAO                       Date      February 21, 2023

   Title         KILEY DELIEFDE SWAINE V. CITY OF TORRANCE ET AL




   Present:         The Honorable      Mark C. Scarsi , U. S. District Judge
                 Stephen Montes Kerr                            Not Reported;
                     Deputy Clerk                           Court Reporter/Recorder

       Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
                 None Present                                    None Present


  Proceedings:       (IN CHAMBERS) ORDER DISMISSING ACTION (JS−6)


         The parties represent that they have settled or are in the process of settling the
    action. The Court ORDERS that the action be DISMISSED WITHOUT
    PREJUDICE. All hearings and deadlines are VACATED. The Court retains
    jurisdiction to vacate this Order and reopen the action within 45 days upon a request
    supported by a showing of good cause why the settlement cannot be completed within
    the 45-day period, explaining what further settlement processes are necessary and
    when the party or parties making the request reasonably expect the process to be
    concluded.
         This Order does not preclude the filing of a stipulation of dismissal with
    prejudice, which does not require the approval of the Court. Fed. R. Civ. P.
    41(a)(1)(A). Such a stipulation shall be filed within 45 days unless otherwise ordered
    by the Court pursuant to a stipulation of the parties supported by good cause.
           IT IS SO ORDERED.




                                                                   Initials of Clerk: smo

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